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                United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 22-7063                                                 September Term, 2022
                                                                        1:13-cv-01215-TSC
                                                   Filed On: October 12, 2022 [1968659]
American Society for Testing and Materials,
et al.,

             Appellants

      v.

Public.Resource.Org, Inc.,

             Appellee

                                         ORDER

       Upon consideration of the amended motion by Copyright Alliance for extension
of time to file brief amicus curiae, and the opposition thereto, it is

       ORDERED that the motion be granted. The following revised briefing schedule
will now apply in this case:

       Brief for Amicus Curiae in support of
                                                                    October 28, 2022
       Appellants or Neither Party
       Appellee's Brief                                         November 14, 2022
       Brief for Amicus Curiae in support of
                                                                December 12, 2022
       Appellee
       Appellants' Reply Brief                                      January 13, 2023
       Deferred Appendix                                            January 20, 2023
       Final Briefs                                                 February 3, 2023

                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk

                                                  BY:     /s/
                                                          Michael C. McGrail
                                                          Deputy Clerk
